                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 1 of 35




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       JAMES EVERETT HUNT, et al.,                       Case No. 19-cv-02935-HSG
                                   8                    Plaintiffs,                          ORDER GRANTING IN PART AND
                                                                                             DENYING IN PART MOTIONS TO
                                   9             v.                                          DISMISS
                                  10       BLOOM ENERGY CORPORATION, et al.,                 Re: Dkt. Nos. 127, 129, 130
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13           In his second amended complaint, Lead Plaintiff James Everett Hunt and additional

                                  14   plaintiffs assert violations of the federal securities laws under Sections 11 and 15 of the Securities

                                  15   Act of 1933 (the “Securities Act”); Sections 10(b) and 20(a) of the Securities Exchange Act of

                                  16   1934 (the “Exchange Act”); and SEC Rule 10b-5 against Bloom Energy Corporation and certain

                                  17   of its top officials (collectively, “Defendants”). See Dkt. No. 113 (“SAC”) at ¶ 1.

                                  18           Pending before the Court are three motions to dismiss the second amended complaint.

                                  19   First, the Section 11 Defendants1 bring a motion to dismiss the Section 11 claims, as well as the

                                  20   Section 15 “controlling persons” claims. Dkt. No. 130. Second, Pricewaterhouse Coopers LLP

                                  21   (“PwC”), Bloom’s independent auditor, brings its own motion to dismiss the Section 11 claims.

                                  22   Dkt. No. 127. Third, the Section 10(b) Defendants2 bring a motion to dismiss the Section 10(b)

                                  23   claims. Dkt. No. 129. The Court finds these matters appropriate for disposition without oral

                                  24   argument and the matters are deemed submitted. See Civil L.R. 7-1(b). For the following reasons,

                                  25

                                  26   1
                                         The Section 11 Defendants include Bloom Energy Corporation, nine of Bloom’s current and
                                  27   former officers and directors, and the ten underwriters of Bloom’s initial public offering. See Dkt.
                                       No. 130.
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                                       2
                                         The Section 10(b) Defendants include Bloom Energy Corporation, Bloom’s CEO KR Sridhar,
                                       and Bloom’s former CFO Randy Furr. See Dkt. No. 129.
                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 2 of 35




                                   1   the Court GRANTS IN PART and DENIES IN PART the motions to dismiss.

                                   2       I.   BACKGROUND
                                   3            Plaintiff Elissa M. Roberts initially filed this securities class action on behalf of all persons

                                   4   who purchased or otherwise acquired Bloom Energy Corporation common stock during Bloom’s

                                   5   July 25, 2018 initial public stock offering (the “IPO” or “Offering”). See Dkt. No. 1. The original

                                   6   complaint asserted claims under Sections 11 and 15 of the Securities Act. Id. at ¶ 2. On

                                   7   September 3, 2019, the Court3 appointed James Everett Hunt as the lead plaintiff in this action.

                                   8   See Dkt. No. 39. As part of the motion granting the appointment, the Court granted Lead Plaintiff

                                   9   Hunt leave to file an amended complaint. See id.

                                  10            On April 21, 2020, Lead Plaintiff Hunt filed a second amended complaint. See SAC. As

                                  11   relevant to the pending motions, the SAC alleges that Bloom manufactures and leases solid-oxide

                                  12   fuel cells, called “Energy Servers,” which convert natural gas or biogas into electricity. See id. at
Northern District of California
 United States District Court




                                  13   ¶¶ 2–3, 41. These Energy Servers provide customers with an alternative to drawing energy from

                                  14   the electrical grid. See id. at ¶ 41. After many years as a private company, Bloom held its IPO on

                                  15   July 25, 2018. Id. at ¶¶ 2, 50–51. The Registration Statement included Bloom’s disclosures

                                  16   regarding the nature of its business, risk factors, executive compensation, and numerous other

                                  17   matters. See Dkt. No. 131-1, Ex. 1. It also included Bloom’s financial statements for the years

                                  18   2016 and 2017, and for the first three months of 2018. The Registration Statement also included

                                  19   PwC’s audit report on Bloom’s 2016 and 2017 annual financial statements. Id. The Registration

                                  20   Statement registered over 20 million Bloom shares of common stock for sale, and the stock sold in

                                  21   the IPO at $15 per share. See SAC at ¶ 51. Bloom received net proceeds of $284.3 million from

                                  22   the IPO. Id.

                                  23            Plaintiffs allege that on September 17, 2019, a third-party market analyst, Hindenburg

                                  24   Research, issued a critique of Bloom’s business. See id. at ¶ 72. The Hindenburg authors

                                  25   projected that Bloom’s business would be massively unprofitable in the future. They calculated

                                  26   that Bloom had “an estimated [net] $2.2 billion in undisclosed servicing liabilities” to repair and

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                                  28    On December 13, 2019, the matter was reassigned from the Honorable Judge Orrick to this
                                       Court. See Dkt. No. 100.
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                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 3 of 35




                                   1   replace the Energy Servers that Bloom had omitted from the Registration Statement at the time of

                                   2   the IPO. Id. (alteration in original). In reaching this conclusion, the authors reasoned that the

                                   3   lifespan of Bloom’s fuel cells was materially shorter, their efficiency was lower than represented,

                                   4   and they therefore needed to be replaced years earlier than represented by Bloom in the

                                   5   Registration Statement. Id. at ¶¶ 72–74.

                                   6          Plaintiffs further allege that in February 2020, Bloom restated the financial statements that

                                   7   it gave to investors in the IPO. See id. at ¶¶ 3, 400–417. In doing so, Bloom disclosed that (1) its

                                   8   net loss attributable to common stockholders for 2017 was in fact $276.362 million, or 5.2%

                                   9   worse than the loss of $262.599 million reported in its Registration Statement; and (2) the net loss

                                  10   attributable to common stockholders for the first three months in 2018 ending March 31, 2018 was

                                  11   $21.591 million, or 21.9% worse than the loss of $17.716 million that Bloom initially reported.

                                  12   See id. at ¶¶ 90, 413. Plaintiffs also allege that Bloom had considerable “construction delays,”
Northern District of California
 United States District Court




                                  13   which impeded Bloom’s ability to install the Energy Servers. Id. at ¶¶ 55–59.

                                  14          Plaintiffs allege that since the IPO, Bloom’s stock price has declined from $15 per share of

                                  15   common stock, to a 52-week low of $2.44 per share of common stock. See id. at ¶ 4. Plaintiffs

                                  16   bring their Securities Act and Exchange Act claims on behalf of themselves and other similarly

                                  17   situated persons who purchased or otherwise acquired Bloom common stock in Bloom’s IPO

                                  18   and/or on the public market between July 25, 2018 and February 12, 2020. See id. at ¶ 1.

                                  19    II.   LEGAL STANDARD
                                  20          A.    Rule 12(b)(6) Standard
                                  21          Federal Rule of Civil Procedure 8(a) requires that a complaint contain “a short and plain

                                  22   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A

                                  23   defendant may move to dismiss a complaint for failing to state a claim upon which relief can be

                                  24   granted under Federal Rule of Civil Procedure 12(b)(6). “Dismissal under Rule 12(b)(6) is

                                  25   appropriate only where the complaint lacks a cognizable legal theory or sufficient facts to support

                                  26   a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th

                                  27   Cir. 2008). To survive a Rule 12(b)(6) motion, a plaintiff must plead “enough facts to state a

                                  28   claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
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                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 4 of 35




                                   1   A claim is facially plausible when a plaintiff pleads “factual content that allows the court to draw

                                   2   the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

                                   3   556 U.S. 662, 678 (2009).

                                   4            In reviewing the plausibility of a complaint, courts “accept factual allegations in the

                                   5   complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”

                                   6   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Nonetheless,

                                   7   Courts do not “accept as true allegations that are merely conclusory, unwarranted deductions of

                                   8   fact, or unreasonable inferences.” In re Gilead Scis. Secs. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                   9   2008).

                                  10            B.   Heightened Pleading Standard
                                  11            Section 10(b) of the Securities Exchange Act of 1934 provides that it is unlawful “[t]o use

                                  12   or employ, in connection with the purchase or sale of any security registered on a national
Northern District of California
 United States District Court




                                  13   securities exchange or any security not so registered . . . any manipulative or deceptive device or

                                  14   contrivance . . . . ” 15 U.S.C. § 78j(b). Under this section, the SEC promulgated Rule 10b–5,

                                  15   which makes it unlawful, among other things, “[t]o make any untrue statement of a material fact or

                                  16   to omit to state a material fact necessary in order to make the statements made, in the light of the

                                  17   circumstances under which they were made, not misleading.” 17 C.F.R. § 240.10b–5(b). To

                                  18   prevail on a claim for violations of either Section 10(b) or Rule 10b–5, a plaintiff must prove six

                                  19   elements: “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

                                  20   connection between the misrepresentation or omission and the purchase or sale of a security; (4)

                                  21   reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

                                  22   Stoneridge Inv. Partners, LLC v. Scientific–Atlanta, Inc., 552 U.S. 148, 157 (2008).

                                  23            At the pleading stage, a complaint alleging claims under Section 10(b) and Rule 10b–5

                                  24   must not only meet the requirements of Federal Rule of Civil Procedure 8, but also satisfy the

                                  25   heightened pleading requirements of both Federal Rule of Civil Procedure 9(b) and the Private

                                  26   Securities Litigation Reform Act (“PSLRA”). In re Rigel Pharm., Inc. Sec. Litig., 697 F.3d 869,

                                  27   876 (9th Cir. 2012). Under Rule 9(b), claims alleging fraud are subject to a heightened pleading

                                  28   requirement, which requires that a party “state with particularity the circumstances constituting
                                                                                          4
                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 5 of 35




                                   1   fraud or mistake.” Fed. R. Civ. P. 9(b). Additionally, all private securities fraud complaints are

                                   2   subject to the “more exacting pleading requirements” of the PSLRA, which require that the

                                   3   complaint plead with particularity both falsity and scienter. Zucco Partners, LLC v. Digimarc

                                   4   Corp., 552 F.3d 981, 990 (9th Cir. 2009).

                                   5   III.        DISCUSSION
                                   6          A.      Section 11 Motion
                                   7               Under Section 11 of the Securities Act, Plaintiffs contend that Bloom’s Registration

                                   8   Statement contained several untrue statements and omissions of material facts. See SAC at ¶ 52.

                                   9   According to Plaintiffs, the challenged statements involved (1) the existence and scale of

                                  10   construction delays; (2) improper accounting under Generally Accepted Accounting Principles

                                  11   (“GAAP”) for loss contingencies and revenue relating to the Energy Servers; (3) the life cycle of

                                  12   the fuel cells in the Energy Servers; (4) weaknesses in Bloom’s internal controls; and (4) the
Northern District of California
 United States District Court




                                  13   efficiency and emissions of the Energy Servers. See id. at ¶¶ 52–103. The Section 11 Defendants

                                  14   contend that even under the more lenient Rule 8(a) standard, Plaintiffs have failed to plausibly

                                  15   allege that these statements were materially false or misleading. See Dkt. No. 130. They ask the

                                  16   Court to dismiss Plaintiffs’ claims in their entirety.

                                  17               “[S]ection 11 of the 1933 Securities Act creates a private remedy for any purchaser of a

                                  18   security if ‘any part of the registration statement, when such part became effective, contained an

                                  19   untrue statement of a material fact or omitted to state a material fact required to be stated therein

                                  20   or necessary to make the statements therein not misleading.’” In re Daou Sys., Inc., 411 F.3d

                                  21   1006, 1027 (9th Cir. 2005) (quoting 15 U.S.C. § 77k(a)). To allege a Section 11 claim, a plaintiff

                                  22   must show “(1) that the registration statement contained an omission or misrepresentation, and

                                  23   (2) that the omission or misrepresentation was material, that is, it would have misled a reasonable

                                  24   investor about the nature of his or her investment.” Rubke v. Capitol Bancorp Ltd., 551 F.3d

                                  25   1156, 1161 (9th Cir. 2009) (quotation omitted). Importantly, “[n]o scienter is required for liability

                                  26   under § 11; defendants will be liable for innocent or negligent material misstatements or

                                  27   omissions.” In re Daou, 411 F.3d at 1027 (quotation omitted).

                                  28               Unlike Section 10(b) claims, the heightened pleading standards of the PSLRA do not apply
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                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 6 of 35




                                   1   to Section 11 claims. See Rubke, 551 F.3d at 1161. Instead, “only allegations of fraudulent

                                   2   conduct must satisfy the heightened pleading requirements of Rule 9(b),” and “[a]llegations of

                                   3   non-fraudulent conduct need satisfy only the ordinary notice pleading standards of Rule 8(a).” In

                                   4   re Daou, 411 F.3d at 1027. Here, Plaintiffs have explicitly disavowed “any allegation that any

                                   5   Section 11 Defendant engaged in fraud or any other deliberate and intentional misconduct.” SAC

                                   6   at ¶ 49. Accordingly, the Rule 8(a) pleading standard applies. Because Plaintiffs challenge

                                   7   discrete categories of statements in the Registration Statement, the Court addresses the Section 11

                                   8   Defendants’ motion by category below.

                                   9               i.   Accounting Errors
                                  10           Plaintiffs assert that the Section 11 Defendants failed to follow the relevant GAAP

                                  11   provisions for Bloom’s liabilities and revenue in its financial statements.4

                                  12                    a. Maintenance Service Agreements
Northern District of California
 United States District Court




                                  13           Plaintiffs first claim that Bloom failed to follow GAAP in accounting for contingent

                                  14   liabilities related to Bloom’s service contracts. Plaintiffs allege that when Bloom sells, leases, or

                                  15   finances an Energy Server, it includes a one-year warranty and performance guarantee as part of

                                  16   the purchase price. SAC at ¶ 63. At the end of this one-year term, customers may then enter into

                                  17   Maintenance Service Agreements (“service contracts”) to extend the initial warranty and

                                  18   performance guarantee. See id. Customers may elect to either renew or cancel their service

                                  19   contracts for successive one-year terms for a period up to 20–25 years. Id. at ¶¶ 63, 68. Plaintiffs

                                  20   allege that “virtually no customers have elected to cancel their [service contracts].” See id. at ¶ 68.

                                  21   These service contracts generate both revenue and expenses for Bloom. See id. at ¶¶ 63–64.

                                  22   Under the terms of the agreements, Bloom must service, repair, and replace Energy Servers when

                                  23   their output or efficiency falls below a certain threshold. See id. at ¶ 64. And customers, in turn,

                                  24   make annual service payments to Bloom under these agreements. See id. at ¶ 63.

                                  25

                                  26   4
                                        Plaintiffs appear to have abandoned any argument that Bloom failed to comply with or made
                                  27   “false and self-serving statements” regarding the new revenue recognition guidance under the
                                       Financial Accounting Standards Board Accounting Standards Codification (“ASC”) 606 for
                                  28   purposes of its Section 11 and Section 10(b) claims. See generally Dkt. No. 138; Dkt. No. 139;
                                       see also SAC at ¶¶ 78–80. The Court therefore GRANTS the motion to dismiss on this basis.
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                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 7 of 35




                                   1           Plaintiffs allege that as of March 2018, “[t]he expenses and/or contingencies associated

                                   2   with these repairs” were approximately $2.9 billion, and exceeded any future revenue from the

                                   3   service contracts by approximately $1.7 billion. See id. at ¶ 64. Plaintiffs allege that the Section

                                   4   11 Defendants failed to disclose the $2.9 billion liabilities from the service contracts. See id. at

                                   5   ¶ 65.

                                   6           Rather, Bloom recognized revenue on these service contracts ratably over the course of the

                                   7   one-year contract term. See SAC at ¶ 382; Dkt. No. 131-1, Ex. 1 at 97. Bloom recorded costs

                                   8   associated with the contracts in one of two ways. If Bloom estimated a loss on the one-year

                                   9   contract, it expensed the estimated loss value at the time of contract renewal. See SAC at ¶ 382.

                                  10   If Bloom estimated a profit on the one-year contract, it expensed the costs as incurred within that

                                  11   period. Id. Plaintiffs urge that such practices violate various ASC provisions, as well as Item 303

                                  12   of Regulation S-K. See id. at ¶¶ 65–66. Plaintiffs therefore conclude that Bloom’s Registration
Northern District of California
 United States District Court




                                  13   Statement contained false and misleading statements about its contingent liabilities.

                                  14           As an initial matter, Defendants respond that such statements in its financial reports reflect

                                  15   accounting judgments, and are therefore opinion statements that should be analyzed under the

                                  16   framework established by the Supreme Court in Omnicare, Inc. v. Laborers District Council

                                  17   Construction Industry Pension Fund, 575 U.S. 175 (2015). See Dkt. No. 130 at 9–10. In

                                  18   Omnicare, the Supreme Court held that “a statement of opinion is not misleading just because

                                  19   external facts show the opinion to be incorrect,” so long as the opinion is honestly believed. 575

                                  20   U.S. at 188. Omnicare therefore limited what constitutes an actionable opinion statement. Where,

                                  21   as here, a plaintiff seeks to establish liability under the omissions clause based on a statement of

                                  22   opinion, the complaint must: (1) “identify particular [omitted] facts going to the basis for the

                                  23   [defendant’s] opinion—facts about the inquiry the [defendant] did or did not conduct or the

                                  24   knowledge it did or did not have”; (2) establish that the facts are material, i.e., that “there is a

                                  25   substantial likelihood that a reasonable investor would consider [them] important;” and (3)

                                  26   establish that the omission of the facts rendered the opinion statement misleading to a reasonable

                                  27   person reading it “fairly and in context,” i.e., “in light of all its surrounding text, including hedges,

                                  28   disclaimers, and apparently conflicting information,” as well as “the customs and practices of the
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                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 8 of 35




                                   1   relevant industry.” Id. at 190, 194–96.

                                   2          As Defendants note, the Supreme Court has acknowledged that “[g]enerally accepted

                                   3   accounting principles [] tolerate a range of reasonable treatments, leaving the choice among

                                   4   alternatives to management.” Thor Power Tool Co. v. C.I.R., 439 U.S. 522, 544 (1979)

                                   5   (quotations omitted). The Ninth Circuit has also recognized that the application of GAAP—at

                                   6   least at times—requires a company to exercise its judgment, such that a company’s financial

                                   7   statements may constitute opinions. See City of Dearborn Heights Act 345 Police & Fire Ret. Sys.

                                   8   v. Align Tech., Inc., 856 F.3d 605, 621 (9th Cir. 2017) (finding statements related to company’s

                                   9   goodwill valuation were opinion statements subject to Omnicare). But Plaintiffs respond that their

                                  10   particular GAAP-based claims are premised on “very clear bright line [GAAP] provisions,” and

                                  11   therefore do not hinge on estimates or the exercise of management’s judgment. See Dkt. No. 138

                                  12   at 8, 13–14.
Northern District of California
 United States District Court




                                  13          Plaintiffs’ argument is undermined by the plain language of their GAAP-based claims.

                                  14   Plaintiffs first cite ASC 450-20-25-2, which discusses obligations that are included in the sale of a

                                  15   product, rather than as a separately priced contract. See SAC at ¶¶ 65, 67; see also Dkt. No. 131-

                                  16   13, Ex. 14 (“ASC 450”). Even assuming ASC 450 would apply to the service contracts at issue

                                  17   here, the provision requires companies to report “reasonable estimates” of “probable” future

                                  18   losses. See id. Under ASC 450, therefore, Bloom had to determine the likelihood that it would

                                  19   incur costs associated with service contracts during the period covered by its financial statement,

                                  20   and whether it could reasonably estimate such costs based on its experience and other available

                                  21   data. As other courts have explained, ASC 450 thus asks companies to provide “an educated

                                  22   approximation of future claims, i.e., an opinion.” See Kanefsky v. Honeywell Int’l Inc., No. 18-

                                  23   CV-15536, 2020 WL 2520669, at *5 (D.N.J. May 18, 2020) (citing In re Hertz Glob. Holdings,

                                  24   Inc. Sec. Litig., 2017 WL 1536223, at *11 (D.N.J. Apr. 27, 2017)).

                                  25          Plaintiffs also rely on ASC 605-20-25-6, which discusses separately priced extended

                                  26   warranty and product maintenance contracts. Dkt. No. 138-8, Ex. 33 (“ASC 605”). ASC 605

                                  27   provides that “[a] loss shall be recognized on extended warranty or product maintenance contracts

                                  28   if the sum of expected costs of providing services under the contracts and unamortized acquisition
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                                         Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 9 of 35




                                   1   costs exceeds related unearned revenue.” See ASC 605. Much like ASC 450, ASC 605 asks

                                   2   companies to estimate future costs for existing contracts. Companies must estimate expected costs

                                   3   to determine whether they exceed expected revenue.

                                   4           Because both ASC 450 and ASC 605 require the exercise of judgment, the Court finds that

                                   5   Bloom’s statements about its contingent liabilities are opinion statements, and the Omnicare

                                   6   framework applies. As an initial step, Plaintiffs must therefore “call into question [Defendants’]

                                   7   basis for offering the opinion” about Bloom’s contingent liabilities. Id. at 175. To do so,

                                   8   Plaintiffs must identify particular facts that Defendants omitted “about the inquiry [Defendants]

                                   9   did or did not conduct or the knowledge [they] did or did not have.” Omnicare, 575 U.S. at 194.

                                  10   “[C]onclusory assertions” are insufficient. Id.

                                  11           Here, Plaintiffs do not directly explain how their allegations satisfy Omnicare. See Dkt.

                                  12   No. 138 at 13–17. The complaint does not address what “inquiry” Defendants did or did not make
Northern District of California
 United States District Court




                                  13   with respect to the service contracts or Bloom’s GAAP compliance. Nor does the complaint

                                  14   address Bloom’s purported knowledge that the service contracts should have been accounted for

                                  15   differently under GAAP.

                                  16           Rather, Plaintiffs identify several facts that Defendants purportedly knew about the service

                                  17   contracts. More specifically, Plaintiffs allege that Bloom had information about (1) the cost to

                                  18   replace fuel cells; (2) the average fuel cell life; (3) the length of time of an average service

                                  19   contract; (4) the average number of times fuel cells are replaced; (5) the current replacement cycle;

                                  20   (6) the cumulative install base; and (7) the cost to replace the Energy Servers. See SAC at ¶¶ 69–

                                  21   73. Plaintiffs allege that based on these “known” facts, Defendants could have—and should

                                  22   have—estimated the costs of the service contracts and disclosed these contingent liabilities in the

                                  23   Registration Statement. Plaintiffs then conclude, without explanation, that the contingent

                                  24   liabilities from these service contracts totaled $2.9 billion. Id. at ¶ 64.

                                  25           The allegations about Defendants’ alleged knowledge, however, are conclusory and belied

                                  26   by other allegations in the complaint. For example, Plaintiffs contend that the service contracts

                                  27   “typically last[] from 10 to 21 years and can last as long as 25 years,” in total, and are renewed

                                  28   each year at the customer’s option. SAC at ¶¶ 63, 68 (emphasis added). But Plaintiffs fail to
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                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 10 of 35




                                   1   explain how Defendants could meaningfully estimate the length of future contracts from such a

                                   2   large range. Plaintiffs also suggest that Bloom knew the estimated life of its Energy Servers and

                                   3   fuel cells because it had to replace some of its earlier generation systems. See id. at ¶¶ 69–70. But

                                   4   as Plaintiffs’ allegations inherently acknowledge, Bloom also had newer systems in place, and

                                   5   Plaintiffs do not explain how Defendants could extrapolate to determine the life or replacement

                                   6   schedule for all its Energy Servers. See id. at ¶ 75 (statement by Bloom that “[o]ver the years we

                                   7   have made steady improvements in our fuel cell lives . . .”).

                                   8           Instead, Plaintiffs appear to suggest that because Hindenburg Research came up with an

                                   9   estimate of contingent liabilities from the service contracts in September 2019, Bloom should have

                                  10   done so as well. See SAC at ¶¶ 72–73. Plaintiffs explain that the Hindenburg authors estimated

                                  11   that Bloom had “$2.2 billion in undisclosed servicing liabilities that the market has missed.” Id.

                                  12   at ¶ 72. Plaintiffs do not explain how the authors arrived at this figure or why it constitutes a
Northern District of California
 United States District Court




                                  13   reasonable estimate. Plaintiffs also fail to provide any information regarding the authors of this

                                  14   report or their qualifications.

                                  15           In opposition, Plaintiffs suggest that the Court should simply consider the Hindenburg

                                  16   report—and its analysis—in its entirety. See Dkt. No. 138 at 17. But the report indicates that

                                  17   Hindenburg Research holds a short position in Bloom’s stock. See Dkt. No. 138-4, Ex. 29

                                  18   (“Hindenburg Report”) at 2, 51. The report recognizes that Hindenburg “therefore stands to

                                  19   realize significant gains in the event that the price of any [Bloom stock] declines.” Id. at 51. In

                                  20   short, Plaintiffs do not adequately explain why this self-interested report supports their claim of

                                  21   falsity. See In re Nektar Therapeutics, No. 18-CV-06607-HSG, 2020 WL 3962004, at *10 (N.D.

                                  22   Cal. July 13, 2020). Even if the Court were to consider the report, it says nothing about Bloom’s

                                  23   inquiry into or knowledge about how to account for the service contracts under GAAP.

                                  24           Plaintiffs have failed to plead that any of the opinion statements about Bloom’s contingent

                                  25   liabilities were false or misleading under Omnicare. The Court GRANTS the motion to dismiss

                                  26   on this basis.

                                  27                     b. Managed Service Agreements
                                  28           Plaintiffs also challenge Defendants’ accounting for Bloom’s Managed Service
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                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 11 of 35




                                   1   Agreements (“MSAs”). Under an MSA, Bloom sells its Energy Servers to a bank, which then

                                   2   leases the equipment back to the company. See SAC at ¶ 400. Bloom, in turn, subleases the

                                   3   equipment to a customer. Id. Under the MSAs, the customer pays the bank a fixed fee for its use

                                   4   of the Energy Server and also pays Bloom for its maintenance and operation of the Energy Server.

                                   5   Id. at ¶¶ 81, 400. Plaintiffs note that Bloom was therefore both “lessee” and “lessor” in this

                                   6   arrangement. See id. at ¶ 81. Plaintiffs allege that when Bloom filed its Registration Statement, it

                                   7   accounted for MSAs as operating leases instead of capital leases, in violation of GAAP. Id. at

                                   8   ¶¶ 81–93 (citing ASC 840-10-10-1, ASC 840-10-25-1). Plaintiffs note that capital leases are

                                   9   generally less desirable because companies must record both the asset and corresponding liability

                                  10   on its books. See id. at ¶ 88. Plaintiffs assert that by accounting for the MSAs as operating leases,

                                  11   Bloom improperly recognized revenue from the “sales” of Energy Servers to the banks upfront,

                                  12   rather than recognizing any revenue over the term of the MSA. See id. at ¶¶ 89–91. Doing so,
Northern District of California
 United States District Court




                                  13   Plaintiffs argue, materially misrepresented Bloom’s financial position. Id. at ¶ 81.

                                  14          Prior to late 2019, Bloom had concluded, and PwC had concurred, that its treatment of

                                  15   MSAs was proper. Id. at ¶ 400. But on February 12, 2020, Bloom announced that it would

                                  16   “restate” certain prior financial statements from 2018 and 2019 and “revise” other prior financial

                                  17   statements for 2016, 2017, and 2018 to account for the change in treatment of certain MSAs as

                                  18   financings (i.e., loans from the banks rather than sales). Id. Bloom acknowledged that this would

                                  19   alter its reported losses and the timing of revenue recognition, with the company recognizing

                                  20   revenue over the loan term as customers made payments to the banks. See id.

                                  21          Here too, Defendants urge that Omnicare applies because Bloom’s treatment of the MSAs

                                  22   and its recognition of revenue from them was the product of accounting judgments. See Dkt. No.

                                  23   130 at 17–19.

                                  24          Plaintiffs respond that Bloom’s “statements of total revenue, net loss, and net loss per

                                  25   share” are not statements of opinion, but rather objective facts. See Dkt. No. 138 at 7–8.

                                  26   However, the considerations underlying these figures—such as which GAAP provisions apply and

                                  27   how to apply them—may require the exercise of judgment. See Align, 856 F.3d at 621; In re

                                  28   AmTrust Fin. Servs., Inc. Sec. Litig., No. 17-CV-1545 (LAK), 2019 WL 4257110, at *14
                                                                                        11
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 12 of 35




                                   1   (S.D.N.Y. Sept. 9, 2019). As the court in In re AmTrust Financial Service aptly explained:

                                   2
                                                       If the numbers underlying that data consist only of figures that were
                                   3                   then presently known, fixed, or definite – e.g., the price of widgets
                                                       and number of widgets sold in a previous month – then any resulting
                                   4                   data would be a statement of fact. Likewise, if the relevant provision
                                                       of GAAP or ASC topic applied to produce the data called only for the
                                   5                   application of or evaluation under objective criteria, then the resulting
                                                       data would be a statement of fact. If, however, the relevant
                                   6                   accounting guidance called for the exercise of judgment, then the
                                                       resulting data would be a statement of opinion. And, if determining
                                   7                   the relevant provision of GAAP to apply in a certain area of
                                                       accounting or with respect to a certain transaction involved a
                                   8                   subjective evaluation, then any data resulting from that application of
                                                       GAAP would be a statement of opinion.
                                   9

                                  10   In re AmTrust, 2019 WL 4257110, at *14. Plaintiffs assert that the relevant ASC provisions here

                                  11   are “very clear bright line provisions for when a lease should be classified as a capital lease.” See

                                  12   SAC at ¶ 84; see also Dkt. No. 138 at 8–9.
Northern District of California
 United States District Court




                                  13           First, Plaintiffs point to ASC 840-10-25-1, which lists four criteria to consider when

                                  14   determining whether to classify a lease as a capital lease:

                                  15
                                                       a.      The lease transfers ownership of the property to the lessee by
                                  16                           the end of the lease term.
                                                       b.      The lease contains a bargain purchase option.
                                  17                   c.      The lease term is equal to 75 percent or more of the estimated
                                                               economic life of the leased property.
                                  18                   d.      The present value at the beginning of the lease term of the
                                                               minimum lease payments . . . exceeds 90 percent of the excess
                                  19                           of the fair value of the leased property to the lessor at lease
                                                               inception . . . .
                                  20

                                  21   See Dkt. No. 131-15, Ex. 16 (“ASC 840”) at 2. As Plaintiffs note in the complaint, “[i]f, at its

                                  22   inception, a lease meets any of the [] four criteria, it is classified as a capital lease by the lessee.”

                                  23   SAC at ¶ 84. The complaint focuses exclusively on the third criterion. Plaintiffs assert that “[t]he

                                  24   length of Bloom Energy’s MS[A] leases was 6 – 10 years, well in excess of the 75% of the Energy

                                  25   Servers’ actual useful life.” See SAC at ¶ 89. Plaintiffs therefore conclude that Bloom should

                                  26   have treated the MSAs as capital leases. Id.

                                  27           Second, Plaintiffs cite ASC 840-10-10-1, which describes “[t]he objective of the lease

                                  28   classification criteria” in ASC 840. See id. at ¶ 84; see also Dkt. No. 138 at 8. The provision
                                                                                           12
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 13 of 35




                                   1   states that the classification criteria “derive[] from the concept that a lease that transfers

                                   2   substantially all of the benefits and risks incident to the ownership of property should be

                                   3   accounted for as the acquisition of an asset and the incurrence of an obligation by the lessee and as

                                   4   a sale or financing by the lessor. All other leases should be accounted for as operating leases.”

                                   5   See SAC at ¶ 83 (quoting ASC 840-10-10-1). Plaintiffs argue that a “sale-leaseback” transaction

                                   6   like the MSAs should not be treated as an operating lease because “the seller-lessee never parted

                                   7   with the asset.” See id. at ¶ 86. Plaintiffs further argue that compliance with ASC 840-10-10-1 is

                                   8   a threshold requirement, and the Court need not consider any other provisions in ASC 840 to

                                   9   determine whether Defendants accurately classified the MSAs. See Dkt. No. 130 at 8.

                                  10           By its terms, however, ASC 840-10-10-1 merely states the “objectives” underlying the

                                  11   more detailed provisions that follow. Despite Plaintiffs’ urging, it does not appear to provide the

                                  12   definitive method for classifying a lease. ASC 840-40-25-4, for example, appears to specifically
Northern District of California
 United States District Court




                                  13   address a sale-leaseback and the recognition of related profits:

                                  14
                                                       If the seller-lessee retains, through a leaseback, substantially all of the
                                  15                   benefits and risks incident to the ownership of the property sold, the
                                                       sale-leaseback transaction is merely a financing. The sellor-lessee
                                  16                   shall not recognize any profit on the sale of an asset if the substance
                                                       of the sale-leaseback transaction is merely a financing. Accordingly,
                                  17                   this Subtopic does not permit any profit to be recognized on a sale if
                                                       a related leaseback of the entire property sold meets one of the
                                  18                   criteria in paragraph 840-10-25-1.
                                  19

                                  20   Id. at 16 (emphasis added). This provision thus refers back to the four criteria discussed above in

                                  21   ASC 840-10-25-1.

                                  22           In their opposition brief, Plaintiffs do not even reference ASC 840-10-25-1. Nor do they

                                  23   explain why the application of this provision does not require the exercise of judgment. Although

                                  24   a somewhat close call, in the Court’s view, ASC 840-10-25-1 appears to involve complex

                                  25   considerations of the specific terms of the MSAs and the value of the Energy Servers.

                                  26           Rather than discuss the ASC provision directly, Plaintiffs rely heavily on the fact that

                                  27   Bloom decided to revise and restate its financial statements as evidence that Bloom’s treatment of

                                  28   the MSAs was “objectively incorrect.” See Dkt. No. 138 at 8–10, & n.5–6. Plaintiffs point out
                                                                                           13
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 14 of 35




                                   1   that “[a] restatement is the ‘process of revising previously issued financial statements to reflect the

                                   2   correction of an error in those financial statements.’” Id. at 9 (quoting ASC 250-10-20). But

                                   3   Plaintiffs do not cite any case law supporting their theory that a restatement alone can establish

                                   4   that a statement is one of fact rather than of opinion. As Defendants note, opinion statements can

                                   5   still be wrong such that a company may seek to correct them. This does not, however, transform

                                   6   the opinion statement into an objective statement of fact. The Supreme Court in Omnicare

                                   7   implicitly recognized this, explaining that “an investor cannot state a claim by alleging only that

                                   8   an opinion was wrong; the complaint must as well call into question the issuer’s basis for offering

                                   9   the opinion.” See Omnicare, 575 U.S. at 194.

                                  10          Plaintiffs have not alleged facts calling into question Defendants’ basis for concluding that

                                  11   the MSAs could be treated as sales rather than capital leases. Plaintiffs do not sufficiently explain

                                  12   how the MSAs meet any of the four criteria in ASC 840-10-25-1. In the complaint, Plaintiffs do
Northern District of California
 United States District Court




                                  13   not specify the economic life of an Energy Server, a necessary input to determine whether the

                                  14   lease term is at least 75% of the Energy Servers’ estimated economic life under the third criterion.

                                  15   As Defendants point out, the only insight Plaintiffs provide is that Bloom represented that the

                                  16   Energy Servers had useful lives of 15 to 21 years. See SAC at ¶ 469. Even assuming a useful life

                                  17   of 15 years, Plaintiffs have not established that the MSAs meet the 75% of estimated useful life

                                  18   threshold in ASC 840-10-25-1. And Plaintiffs do not allege that the MSAs meet any of the other

                                  19   three criteria. The Court therefore GRANTS the motion to dismiss regarding the treatment of

                                  20   Bloom’s MSAs.

                                  21              ii.   Fuel Cell Life
                                  22          Plaintiffs next challenge Bloom’s representations about the Energy Servers’ fuel cell life.

                                  23   In the Registration Statement, Defendants included a letter from then-CFO Randy Furr. See SAC

                                  24   at ¶ 75; see also Dkt. No. 131-1, Ex. 1 at 68–70. In the letter, Mr. Furr acknowledged that

                                  25   Bloom’s service business “experienced losses” historically as it installed Energy Servers that had a

                                  26   lifespan below the company’s break even point. See Dkt. No. 131-1, Ex. 1 at 68. However, Mr.

                                  27   Furr expressed optimism that Bloom could break even in its service business in the future

                                  28   “provided the time between [fuel cell] stack replacements across all of our fleet is five years or
                                                                                         14
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 15 of 35




                                   1   better.” Id. Mr. Furr explained that although earlier generations of Bloom’s fuel cells had needed

                                   2   replacement “typically [every] 12 to 18 months,” “[o]ver the years we have made steady

                                   3   improvements in our fuel cell lives, and from 2017 onwards we expect to average over five years

                                   4   between replacements.” See id.

                                   5           Plaintiffs assert that these statements were materially false and misleading because in

                                   6   reality, “Bloom Energy routinely replaced its fuel cells after just three years.” See SAC at ¶ 77.

                                   7   Here again, Plaintiffs base their allegations on the Hindenburg Research report. See id. at ¶ 76. In

                                   8   their September 2019 report, the Hindenburg authors explained that they had collected public

                                   9   utility records for New York and California for generators installed after 2016, covering 35 of

                                  10   Bloom’s projects. Hindenburg Report at 10–12, 46–48; see also SAC at ¶ 76. The authors

                                  11   concluded that “[a]fter aggregating this data, [they] found that even Bloom’s newest fuel cells will

                                  12   degrade below replacement thresholds in under 3 years . . . .” Hindenburg Report at 11. The
Northern District of California
 United States District Court




                                  13   authors also cited to several unnamed experts who said that they would be “highly skeptical” of

                                  14   solid oxide fuel cells lasting five years or longer in the field. Id. at 11.

                                  15           Defendants again argue that Plaintiffs are challenging statements of opinion. See Dkt. No.

                                  16   130 at 13–14. They point out that in the letter, Mr. Furr states that “we expect to average over five

                                  17   years between [fuel cell] replacements” from 2017 onward. See Dkt. No. 131-1, Ex. 1 at 68

                                  18   (emphasis added). The letter further said “we believe we can break-even in our service business

                                  19   provided the time between stack replacements across all of our fleet is five years or better.”

                                  20   Id. (emphasis added). Plaintiffs respond that Mr. Furr’s statements, taken in their entirety, contain

                                  21   an embedded statement of fact that Defendants “saw improvements in fuel cell life averaging five

                                  22   years between replacements.” See Dkt. No. 138 at 21.

                                  23           The Supreme Court in Omnicare recognized that the use of “words like ‘I believe’” is not

                                  24   dispositive of whether a statement is one of fact or opinion. See Omnicare, 575 U.S. at 185. For

                                  25   example, the Supreme Court provided a hypothetical in which a CEO said “I believe our TVs have

                                  26   the highest resolution available because we use a patented technology to which our competitors do

                                  27   not have access.” Id. The Court explained that the statement not only affirms the CEO’s opinions

                                  28   about the company’s TV resolution, “but also an underlying fact: that the company uses a
                                                                                           15
                                            Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 16 of 35




                                   1   patented technology.” Id. Defendants do not appear to contest that Mr. Furr’s statements contain

                                   2   an embedded statement of fact like the hypothetical in Omnicare. See Dkt. No. 145 at 6. And the

                                   3   Court agrees that despite the use of the words “expect” and “believe,” Mr. Furr’s letter represents

                                   4   that Bloom saw improvements in fuel cell life. See Dkt. No. 131-1, Ex. 1 at 68. However, the

                                   5   Court disagrees with Plaintiffs’ interpretation that Mr. Furr’s letter contains any embedded

                                   6   statement of fact about how much improvement Bloom saw in fuel cell life. Rather, Mr. Furr

                                   7   simply offered his opinion that based on the improvement the company had seen in the past, they

                                   8   expected “to average over five years between [fuel cell] replacements” from 2017 onward. See

                                   9   Dkt. No. 131-1, Ex. 1 at 68.

                                  10            Plaintiffs’ basis for concluding that this statement is false appears to rest entirely on the

                                  11   Hindenburg report. As the Court has already discussed, the authors of this report are short sellers

                                  12   with a financial interest in highlighting possible problems with Bloom’s business. See
Northern District of California
 United States District Court




                                  13   Hindenburg Report at 2, 51. The Hindenburg authors state that they analyzed California and New

                                  14   York public utility data. Id. at 10–11. Given the deterioration that the authors saw in the

                                  15   efficiency of Bloom’s newest generation fuel cells, the authors explained that the cells were on

                                  16   track to need replacement within three—not five—years. See id. As Defendants note, however,

                                  17   this is just a projection. See Dkt. No. 145 at 6. The public utility data does not appear to bear on

                                  18   the veracity of Mr. Furr’s statement that Bloom saw improvement in its fuel cell technology over

                                  19   time.

                                  20            The Hindenburg authors also appear to rely on other experts to buttress their analysis. The

                                  21   report cites to unnamed experts who express skepticism that Bloom could achieve an average fuel

                                  22   cell life over five years. See id. The two quotations from “experts in the field” state that they are

                                  23   “highly skeptical” and “doubt” Bloom’s claim. Id. at 11. But critically, none of these experts

                                  24   claim to have any experience with or knowledge of Bloom’s Energy Servers or their fuel cells. To

                                  25   the extent Plaintiffs rely on these other anonymous experts, the Court does not find this probative

                                  26   of falsity. The Court finds that Plaintiffs have not plausibly alleged falsity as to Bloom’s average

                                  27   fuel cell life and GRANTS the motion on this basis.

                                  28   //
                                                                                           16
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 17 of 35




                                   1              iii.   Efficiency and Emissions

                                   2          Plaintiffs also challenge statements that Bloom made about the efficiency and emissions of

                                   3   its latest Energy Server technology. See SAC at ¶¶ 96–103.

                                   4          First, Plaintiffs challenge Defendants’ assertion in the Registration Statement that the

                                   5   “latest generation of [Bloom’s] Energy Servers” is capable of “beginning-of-life efficiencies of

                                   6   65%,” with an efficiency “range from 53% to 65% over the project term depending on

                                   7   environmental conditions and the age of the power modules.” See SAC at ¶ 97; see also Dkt. No.

                                   8   131-1, Ex. 1 at 9, 14. To establish the falsity of this statement, Plaintiffs cite a 2019 study

                                   9   conducted by the University of Delaware in which the author found that the actual operating

                                  10   efficiency of Bloom’s fuel cells was only 45% in 2018. See SAC at ¶ 98; see also Dkt. No. 131-

                                  11   21, Ex. 22. Defendants point out that in the study, the author acknowledges that they did not

                                  12   evaluate the newest model of Energy Server. See Dkt. No. 130 at 23. However, Bloom’s alleged
Northern District of California
 United States District Court




                                  13   misstatement was limited to the “latest generation.” See SAC at ¶ 97. In their opposition brief,

                                  14   Plaintiffs appear to acknowledge this and do not explain why the University of Delaware study is

                                  15   nonetheless evidence of falsity.

                                  16          Instead, Plaintiffs point out that the Hindenburg report, which evaluated Energy Servers

                                  17   installed after 2016, found that “Bloom’s newer fuel cell installations” had “a median starting

                                  18   efficiency of 58.3%,” which is below the stated 65%. See Dkt. No. 138 at 22 (citing SAC at ¶ 76).

                                  19   Defendants argue that the authors do not explain their methodology. See Dkt. No. 145 at 13.

                                  20   However, the report explains that the authors analyzed monthly performance data from the

                                  21   California Self-Generation Incentive Program and the New York State Energy Research and

                                  22   Development Authority. See Hindenburg Report at 47. The report also includes links to the

                                  23   reports, and notes how the authors sorted the data to look at Bloom’s latest Energy Servers. Id.

                                  24   Defendants also argue that the “58.3% ‘median’ figure does not show that the latest-generation

                                  25   Energy Servers were not capable of 65% efficiency.” See Dkt. No. 145 at 13. The Court is not

                                  26   persuaded. Defendants no doubt disagree with the report’s conclusions and the weight of the

                                  27   evidence Plaintiffs have pled. But at this stage, Plaintiffs need only plead enough facts to make it

                                  28   plausible that Bloom’s statement about the Energy Servers was false, and they have done so.
                                                                                         17
                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 18 of 35




                                   1           Second, Plaintiffs challenge several of Bloom’s statements regarding emissions. Plaintiffs

                                   2   identify statements that (1) “Energy Servers deployed since 2012 running on natural gas produce

                                   3   nearly 60% less carbon emissions compared to the average U.S. combustion power generation”;

                                   4   and (2) “Energy Servers emit virtually no criteria air pollutants, including NOx or SOx.” SAC at

                                   5   ¶ 99.5 Plaintiffs contend that these statements were false because the Energy Servers in fact

                                   6   produce pollutants such as nitrogen oxides, volatile organic compounds, and hazardous solid

                                   7   waste. See id. at ¶ 100. Plaintiffs identify recent litigation in the Superior Court of California in

                                   8   which concerns were raised about the pollution from Bloom’s technology. See id. (citing Bloom v.

                                   9   City of Santa Clara, Superior Court of California, County of Santa Clara, 19-cv-348838). The

                                  10   Hindenburg report also noted that the Servers “generate more CO2 than the electric grid in key

                                  11   states they operate in and produce CO2 levels comparable to modern natural gas power plants.”

                                  12   Id. at ¶ 101. And in February 2020, 16 Delaware state senators wrote to the Department of
Northern District of California
 United States District Court




                                  13   Natural Resources and Environmental Control, expressing concern over Bloom’s alleged

                                  14   misrepresentations about the Energy Servers’ CO2 emissions. See id. at ¶ 102.

                                  15           Defendants argue that Plaintiffs are “comparing apples to oranges,” and that none of the

                                  16   cited sources establish that Bloom’s statements were false and misleading. See Dkt. No. 130 at

                                  17   23–24. Defendants urge that Bloom “never represented that its Energy Servers produce no

                                  18   emissions,” just that they compare favorably to other energy sources. See id. at 24 (emphasis in

                                  19   original). But as Plaintiffs point out, at least one of Defendants’ challenged statements is that

                                  20   “Energy Servers emit virtually no criteria air pollutants, including NOx or SOx.” SAC at ¶ 99

                                  21   (emphasis added).

                                  22           Nevertheless, Plaintiffs offer few allegations to support the falsity of the statement.

                                  23   Plaintiffs cite the court’s order in Bloom v. City of Santa Clara. See Dkt. No. 138 at 22. In the

                                  24   order, the court noted that Santa Clara “cite[d] materials showing [Bloom’s Energy Server fuel

                                  25   cells] produce NOx, CO2, VOCs, and hazardous solid waste.” See Dkt. No. 131-23, Ex. 24 at 8.

                                  26
                                  27   5
                                        Although the complaint includes additional statements from Bloom about its emissions, Plaintiffs
                                  28   do not appear to address these in their opposition and instead focus only on these two statements.
                                       See Dkt. No. 38 at 22–23.
                                                                                        18
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 19 of 35




                                   1   However, the court did not cite to these materials or adopt their findings. Rather, later in the order

                                   2   the court indicated that one report showed that Energy Servers “do not produce SOx.” See id. at

                                   3   14. The report also found that the NOx emission factor for the Energy Servers was .0017, lower

                                   4   than the NOx emission factor for the natural gas power plant that the report analyzed. See id.; see

                                   5   also id. at 6. Plaintiffs do not explain how this supports their theory of falsity.

                                   6          Regarding Bloom’s claim that its Energy Servers emit 60% less carbon emissions than the

                                   7   average U.S. combustion power generation, Plaintiffs again cite the Hindenburg report. See SAC

                                   8   at ¶ 101. The report concludes that the “Servers emit significantly more CO2 than the electric grid

                                   9   in key states where it operates . . . comparable to those of modern natural gas power plants.” See

                                  10   Dkt. No. 138 at 22 (quoting Hindenburg Report at 1). The complaint does not explain how the

                                  11   “power grid in key states” compares to “U.S. combustion power generation.” In opposition,

                                  12   Plaintiffs suggest that “combustion power plants are included in ‘the grid.’” See Dkt. No. 138 at
Northern District of California
 United States District Court




                                  13   23. However, they offer no support for this conclusion, and importantly have not alleged this is in

                                  14   the complaint. Plaintiff also notes that “Bloom self-identified as a ‘large quantity generator of

                                  15   hazardous waste,’ to the EPA.” See Dkt. No. 138 at 22. Yet again, however, Plaintiffs do not

                                  16   explain how this is relevant to the challenged statements about the Energy Servers’ carbon

                                  17   emissions compared to U.S. combustion power generation.

                                  18          The Court therefore GRANTS IN PART the motion as it relates to statements about

                                  19   Bloom’s emissions, but otherwise DENIES the motion as to claims based on Bloom’s statements

                                  20   about the Energy Servers’ efficiency.

                                  21              iv.   Construction Delays
                                  22          Plaintiffs challenge statements in the Registration Statement about “risks” of delay related

                                  23   to Bloom’s construction schedule. SAC at ¶ 54. In particular, Bloom noted that its “business is

                                  24   subject to risks associated with construction . . . that may arise in the course of completing

                                  25   installations.” See id. at ¶ 53. Plaintiffs contend that these were not just possible risks, but that

                                  26   construction delays actually existed at the time of the Registration Statement. See id. at ¶¶ 54–58.

                                  27   According to a confidential witness (“CW1”), a senior program manager for Bloom from June

                                  28   2016 to February 2018, construction delays were “constant, “on-going,” and “occurred during
                                                                                          19
                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 20 of 35




                                   1   almost every project.” See id. at ¶¶ 55–57. Plaintiffs allege that Bloom “did not disclose that . . .

                                   2   at the time of the Registration Statement, [it was] already facing significant construction delays

                                   3   that were interfering with its installations and ‘acceptances.’”6 SAC at ¶ 54. And on November 5,

                                   4   2018, after the IPO, Bloom reported that it had only achieved 206 acceptances, less than the 215 to

                                   5   235 acceptances it had provided as third-quarter guidance. See id. at ¶ 59.

                                   6           Defendants first argue that “the Registration Statement plainly did tell investors that

                                   7   installation delays and the difficulty in predicting the timing of acceptances were ongoing features

                                   8   of its business.” See Dkt. No. 130 at 6 (emphasis in original). For example, Bloom warned

                                   9   investors that “[m]any factors can cause a lag” in the construction process and that “[m]any of

                                  10   these factors are unpredictable.” SAC at ¶ 53. Defendants argue that reasonable investors would

                                  11   assume after reading these risks that Bloom had already experienced construction delays. See Dkt.

                                  12   No. 130 at 6.
Northern District of California
 United States District Court




                                  13           Defendants cite to Lomingkit v. Apollo Educ. Grp. Inc., 275 F. Supp. 3d 1139, 1161–62 (D.

                                  14   Ariz. 2017), to support their contention that Bloom sufficiently warned that construction delays

                                  15   existed. See Dkt. No. 145 at 12, & n.7. In Lomingkit, the company’s Form 10-K stated “[f]rom

                                  16   time to time we experience intermittent outages of the information technology systems used by

                                  17   our students and by our employees.” See id. at 1161. The court found that these were not “future-

                                  18   oriented warnings” but rather discussed issues that the company was experiencing. See id. at

                                  19   1161–62. However, the court in Lomingkit also recognized that a “where a party states that

                                  20   something might occur, that warning may be actionable because it omits that ‘that something’ has

                                  21   already occurred.” 275 F. Supp. 3d at 1161. Here, Defendants stated that construction delays

                                  22   “may” arise. Although a factfinder may ultimately agree with Defendants’ interpretation, the

                                  23   Court finds that it is not the only plausible interpretation. Based on the allegations and language

                                  24   of the Registration Statement, a factfinder could conclude that Defendants failed to disclose

                                  25   preexisting construction delays.

                                  26           Defendants next argue that Plaintiffs’ only evidence of preexisting construction delays is

                                  27

                                  28
                                       6
                                         “Acceptances” signify that an Energy Server is fully installed and running at full power. See,
                                       e.g., SAC at ¶ 44; Dkt. No. 130 at 1.
                                                                                       20
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 21 of 35




                                   1   statements from CW1, and that this is insufficient because CW1 is unreliable. See Dkt. No. 130 at

                                   2   6–7. Defendants argue that even as alleged, CW1 left Bloom in February 2018, five months

                                   3   before the IPO. See SAC at ¶ 55. Defendant thus urges that CW1 could have no personal

                                   4   knowledge about construction delays at the time of the IPO. Dkt. No. 130 at 7. The complaint

                                   5   alleges that in his role, CW1 “was responsible for overseeing sales from development to

                                   6   acceptance, providing technical help during installation and sales, overseeing construction

                                   7   contracts, and ensuring that the construction and installation met all government requirements.”

                                   8   See SAC at ¶ 58. Plaintiffs have therefore alleged how CW1 was in a position to know about

                                   9   construction delays at Bloom.

                                  10          The Court further finds that the timing of CW1’s departure from Bloom does not

                                  11   undermine the basis for his knowledge for purposes of Plaintiffs’ Section 11 claims in this case.

                                  12   As the Ninth Circuit has recognized, prior information may still “confirm what a defendant should
Northern District of California
 United States District Court




                                  13   have known during the class period.” Webb v. Solarcity Corp., 884 F.3d 844, 851, n.1 (9th Cir.

                                  14   2018). Here, although CW1 left before the IPO, he indicated that Bloom’s construction delays

                                  15   were “constant” and “on-going” during his time with the company. See SAC at ¶¶ 56–57. Thus,

                                  16   as of at least February 2018, Bloom was allegedly experiencing construction delays for Q3 2018,

                                  17   the sales cycle that was ongoing at the time of the IPO. See Dkt. No. at 5 (“[T]he process leading

                                  18   to acceptance is lengthy, running to 12 months or more.”); Dkt. 131-1, Ex. 1 at 33 (“Our sales

                                  19   cycle is typically 12 to 18 months.”). Plaintiffs have therefore established how CW1 had

                                  20   information about construction delays relevant to the IPO. But Defendants couched construction

                                  21   delays as possible risks rather than actual problems at the company. A reasonable investor could

                                  22   find this misleading. The Court understands that Defendants disagree with the accuracy of

                                  23   Plaintiffs’ allegations. But that is not the Court’s inquiry at this stage. The Court therefore

                                  24   DENIES the motion on this basis.

                                  25              v.    Internal Control Weaknesses
                                  26          Lastly, Plaintiffs claim that Bloom misrepresented in the Registration Statement “that there

                                  27   were no ‘material weaknesses in internal control over financial reporting at December 31, 2017.’”

                                  28   See SAC at ¶ 94. Plaintiffs note that in its 2019 Form 10-K, Bloom recognized that the company
                                                                                         21
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 22 of 35




                                   1   “had ‘a material weakness in [its] internal control over financial reporting related to the accounting

                                   2   for complex or non-routine transactions.’” Id.

                                   3          Defendants argue that Plaintiffs misstate Bloom’s representation about internal controls,

                                   4   and that in a risk disclosure the company stated that it had not “discover[ed] any material

                                   5   weaknesses” as of December 31, 2017. See Dkt. No. 130 at 22. Plaintiffs appear to concede that

                                   6   Defendants are correct as to the actual statement Bloom made about internal controls. See Dkt.

                                   7   No. 138 at 23–24. They argue, however, that they still represented to investors that they had

                                   8   adequately reviewed internal controls. But Plaintiffs do not plead any facts to support the

                                   9   contention that Bloom did not engage in the appropriate level of review. Plaintiffs have also failed

                                  10   to plead any facts to explain why possible financial reporting controls in 2019 or 2020 would

                                  11   implicate representations about financial controls in 2017. The Court therefore GRANTS the

                                  12   motion on this basis.
Northern District of California
 United States District Court




                                  13          B.    PwC Motion
                                  14          PwC filed its own motion to dismiss the Section 11 claim that Plaintiffs assert against it.

                                  15   See Dkt. No. 127. Plaintiffs allege that PwC reviewed Bloom’s financial statements in connection

                                  16   with the IPO. See SAC at ¶¶ 35, 115. Bloom’s Registration Statement contained PwC’s audit

                                  17   report, which stated that Bloom’s 2016 and 2017 financial statements “present fairly, in all

                                  18   material respects, the financial position of the Company as of December 31, 2017 . . . .” See Dkt.

                                  19   No. 131-1, Ex. 1 at 227. PwC argues that its audit report and the statements contained within it

                                  20   are opinions subject to the Omnicare framework. See Dkt. No. 127 at 6–7. They contend that

                                  21   Plaintiffs have failed to sufficiently allege that the audit report was objectively and subjectively

                                  22   false, and the Section 11 claim against them should thus be dismissed. Id.

                                  23          In response, Plaintiffs clarify that it contends PwC is liable under Section 11 both for

                                  24   misstatements in the audit report and for the GAAP errors in the 2017 financial statements related

                                  25   to the treatment of the MSAs. See Dkt. No. 140 at 5–7, 9–10; see also Section III.A.i.b

                                  26   (discussing MSAs). Under Section 11, accountants are liable for errors in “any part of the

                                  27   registration statement” that they “prepared or certified.” See 15 U.S.C. § 77k(a)(4). Plaintiffs

                                  28   argue that PwC does not dispute that it (1) certified the financial statements; or that (2) the 2017
                                                                                         22
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 23 of 35




                                   1   financial statements were false. Dkt. No. 140 at 6–7. Plaintiffs urge that PwC therefore concedes

                                   2   liability for them. Id. The Court is not persuaded. PwC contends that “PwC’s opinion was that

                                   3   there were no material errors in the 2016 and 2017 financial statements,” and that Plaintiffs fail to

                                   4   allege that the 2016 and 2017 financial statements were materially misstated. See Dkt. No. 127 at

                                   5   1; see also id. at 11, n.3. The Court therefore considers PwC’s motion to dismiss the Section 11

                                   6   claim as to the alleged misstatements in the audit report and the financial statements.

                                   7               i.   Omnicare
                                   8          As a threshold issue, the parties disagree on whether the audit report and the financial

                                   9   statements are opinions subject to Omnicare. Neither party cites to any Ninth Circuit authority

                                  10   resolving this issue. Instead, the parties note that there is a split in authority regarding whether

                                  11   such material should be considered opinion.

                                  12          Plaintiffs first highlight the district court’s order in Special Situations Fund III QP, L.P. v.
Northern District of California
 United States District Court




                                  13   Marrone Bio Innovations, Inc., 243 F. Supp. 3d 1109, 1116–118 (E.D. Cal. 2017), which

                                  14   explicitly rejected the application of Omnicare to auditors. The court reasoned that “audit

                                  15   opinions are not of the same substance as those discussed in Omnicare,” which referenced a

                                  16   hypothetical CEO opining that the company’s TVs had “‘the highest resolution available on the

                                  17   market.’” Id. (quoting Omnicare, 575 U.S. at 183). The court in Marrone said this hypothetical is

                                  18   “qualitatively different from an auditor’s professional opinion about the soundness of a company’s

                                  19   financial statements.” Id. This Court respectfully disagrees. The Court sees no meaningful

                                  20   distinction between the professional knowledge that a CEO has and the opinions he offers about a

                                  21   company’s technology and the professional knowledge that an auditor has and the opinions it

                                  22   offers about a company’s financial statements. The Supreme Court did not recognize any

                                  23   “auditor” exception to its holding, and the Court finds no basis for creating such an exception.

                                  24   Accord Querub v. Moore Stephens Hong Kong, 649 F. App’x 55, 58 (2d Cir. 2016) (Summary

                                  25   Order); Johnson v. CBD Energy Ltd., No. CV H-15-1668, 2016 WL 3654657, at *10 (S.D. Tex.

                                  26   July 6, 2016) (collecting cases).

                                  27          Rather, the Supreme Court in Omnicare defined an opinion broadly as “a belief[,] a view,

                                  28   or a sentiment which the mind forms of persons or things.” Omnicare, 575 U.S. at 183 (quotation
                                                                                         23
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 24 of 35




                                   1   omitted) (alteration in original). Therefore, the critical difference between a fact and an opinion is

                                   2   that “a statement of fact (‘the coffee is hot’) expresses certainty about a thing, whereas a statement

                                   3   of opinion (‘I think the coffee is hot’) does not.” Id. The Court further emphasized that Section

                                   4   11 “does not allow investors to second guess inherently subjective and uncertain assessments.” Id.

                                   5   It thus matters under Omnicare that PwC’s audit report and statements in the Registration

                                   6   Statement were explicitly identified as opinions. Accord Querub, 649 F. App’x at 58 (“Audit

                                   7   reports, labeled ‘opinions’ and involving considerable subjective judgment, are statements of

                                   8   opinion subject to the Omnicare standard for Section 11 claims.”); see also Buttonwood Tree

                                   9   Value Partners, LP v. Sweeney, 2012 WL 2086607, at *2 (C.D. Cal. June 7, 2012) (finding “both

                                  10   GAAS and GAAP are a collection of broad standards that are couched in rather general and in

                                  11   some cases inherently subjective terms . . . to which reasonable professionals planning or

                                  12   conducting an audit reasonably and frequently could disagree.”).
Northern District of California
 United States District Court




                                  13          Here, in the Registration Statement PwC identified its “Opinion on the Financial

                                  14   Statements” for 2016 and 2017. See Dkt. No. 131-1, Ex. 1 at 227 (emphasis added). PwC stated:

                                  15
                                                      In our opinion, the consolidated financial statements present fairly, in
                                  16                  all material respects, the financial position of the Company as of
                                                      December 31, 2017 and December 31, 2016, and the results of its
                                  17                  operations and its cash flows for each of the two years in the period
                                                      ended December 31, 2017 in conformity with accounting principles
                                  18                  generally accepted in the United States of America.
                                  19

                                  20   Id. (emphasis added). PwC further explained that although the “financial statements are the

                                  21   responsibility of the Company’s management,” PwC’s “responsibility is to express an opinion on

                                  22   the Company’s consolidated financial statements based on [its] audits.” Id. (emphasis added).

                                  23   They therefore conducted the audit “to obtain reasonable assurance about whether the consolidated

                                  24   financial statements [were] free of material misstatement, whether due to error or fraud.” Id. As

                                  25   the Supreme Court confirmed, a reasonable person “recognizes the import of words like ‘I think’

                                  26   or ‘I believe,’ and grasps that they convey some lack of certainty as to the statement's content.”

                                  27   Omnicare, 575 U.S. at 187. Moreover, as discussed in more detail in Section III.A.i.b above, the

                                  28   GAAP provisions regarding sale-leaseback transactions like the MSAs are complex and may
                                                                                         24
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 25 of 35




                                   1   require the exercise of considerable judgment.

                                   2          Plaintiffs further contend that apart from the audit report itself, PwC also “certified”

                                   3   Bloom’s 2017 financial statements so as to be liable under 15 U.S.C. § 77k(a)(4). See Dkt. No.

                                   4   140 at 5–7. Section 11(a)(4) provides a cause of action against a professional “who has with his

                                   5   consent been named as having prepared or certified any part of the registration statement.” 15

                                   6   U.S.C. § 77k(a)(4). Plaintiffs suggest that “certified” in this context means PwC guaranteed that

                                   7   there were no material misstatements in Bloom Energy’s 2017 financial statements. The Court

                                   8   disagrees that there is a meaningful distinction between any “certification” of the 2017 financial

                                   9   statements and PwC’s audit report. Accord Johnson, 2016 WL 3654657, at *10–11. PwC

                                  10   explicitly stated that it was providing an opinion based on its audit of these financial statements.

                                  11   This is consistent with the SEC’s definition that “[t]he term certified, when used in regard to

                                  12   financial statements, means examined and reported upon with an opinion expressed by an
Northern District of California
 United States District Court




                                  13   independent public or certified public accountant.” 17 C.F.R. § 230.405. The Court therefore

                                  14   finds that the Omnicare framework applies to PwC’s statements in its audit report and the 2017

                                  15   financial statements.

                                  16          Plaintiffs argue that even if PwC’s statements are considered opinions, they have pled a

                                  17   claim based on “embedded statements of fact” under Omnicare. See Dkt. No. 140 at 11 (citing In

                                  18   re Petrobras Sec. Litig., 14-cv-9662 (JSR), 2016 WL 1533553 (S.D.N.Y. Feb. 19, 2016)).

                                  19   Plaintiffs urge that “the facts of Bloom’s financial statements violating GAAP” are embedded in

                                  20   PwC’s audit opinion. Id. The Court rejects Plaintiffs’ attempt to cast any alleged errors in the

                                  21   financial statements as embedded statements of fact. The court in Johnson v. CBD Energy Ltd.

                                  22   addressed this precise argument and found it premised on a misinterpretation of Omnicare. 2016

                                  23   WL 3654657, at *12. The Court finds the reasoning in Johnson persuasive and adopts it here.

                                  24              ii.   Subjective Falsity
                                  25          To plead falsity for opinion statements under a material misstatement theory of liability,

                                  26   Plaintiffs must allege “both objective and subjective falsity.” Align, 856 F.3d at 615 (citing

                                  27   Omnicare, 575 U.S. at 183–86). Plaintiffs appear to concede that they have not alleged subjective

                                  28   falsity as required under Omnicare. And the Court finds that they have failed to plead any facts
                                                                                         25
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 26 of 35




                                   1   suggesting that PwC did not sincerely believe that the “financial statements present fairly, in all

                                   2   material respects, the financial position of the Company as of December 31, 2017 . . . .” See Dkt.

                                   3   No. 131-1, Ex. 1 at 227. The complaint hardly mentions PwC or its audit report at all, stating

                                   4   simply that PwC “purportedly conducted an adequate and reasonable investigation into the

                                   5   business, operations, financial statements, and accounting of Bloom Energy.” See SAC at ¶ 116.

                                   6   The Court therefore GRANTS PwC’s motion to dismiss.

                                   7          C.    Section 10(b) Motion
                                   8          Under Section 10(b) of the Exchange Act, Plaintiffs seek to hold Defendants Bloom,

                                   9   Sridhar, and Furr liable for issuing false and misleading statements either intentionally or with

                                  10   deliberate recklessness to induce investors to purchase Bloom’s common stock. See SAC at

                                  11   ¶¶ 134–508. “To plead a claim under section 10(b) and Rule 10b-5, the Plaintiffs must allege:

                                  12   (1) a material misrepresentation or omission; (2) scienter; (3) a connection between the
Northern District of California
 United States District Court




                                  13   misrepresentation or omission and the purchase or sale of a security; (4) reliance; (5) economic

                                  14   loss; and (6) loss causation.” Align, 856 F.3d at 613 (quotation omitted). Plaintiffs acknowledge

                                  15   that their Section 10(b) claims are subject to a heightened pleading standard under Rule 9(b). See

                                  16   Dkt. No. 139 at 4; see also SAC at ¶ 135 (“Plaintiffs’ claims under the Exchange Act sound in

                                  17   fraud.”).

                                  18          Plaintiffs’ Section 10(b) and Section 11 claims are based on largely overlapping statements

                                  19   involving (1) Bloom’s financial statements, including improper accounting as to the maintenance

                                  20   service agreements and MSAs; (2) the life cycle of the fuel cells in the Energy Servers; (3) the

                                  21   efficiency and emissions of the Energy Servers; (4) construction delays; and (5) weaknesses in

                                  22   Bloom’s internal controls. See SAC at ¶¶ 134–508. Under Section 10(b), the challenged

                                  23   statements include those in the Registration Statement, as well as others that Plaintiffs allege

                                  24   occurred after the IPO and throughout the class period. The Section 10(b) Defendants move to

                                  25   dismiss the claims against them, arguing that Plaintiffs have failed to sufficiently plead falsity,

                                  26   scienter, and economic loss. See Dkt. No. 129. The Section 10(b) Defendants also explicitly

                                  27   incorporate by reference the arguments in the Section 11 Defendants’ motion. See Dkt. No. 129 at

                                  28   1. For the reasons detailed in Section III.A above, the Court agrees that Plaintiffs have failed to
                                                                                         26
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 27 of 35




                                   1   adequately plead falsity as to the statements regarding accounting errors, fuel cell life, emissions,

                                   2   and internal controls. The Court therefore GRANTS IN PART the Section 10(b) Defendants’

                                   3   motion on that basis. Accordingly, the Court only addresses the Section 10(b) Defendants’

                                   4   separate arguments that Plaintiffs failed to plead scienter and loss causation.

                                   5               i.    Scienter
                                   6          Under the PSLRA, whenever intent is an element of a claim, the complaint must “state

                                   7   with particularity facts giving rise to a strong inference that the defendant acted with the required

                                   8   state of mind.” 15 U.S.C. § 78u-4(b)(2). “The PSLRA’s strong inference requirement has teeth,”

                                   9   and “is an exacting pleading obligation.” Nguyen v. Endologix, Inc., 962 F.3d 405, 414 (9th Cir.

                                  10   2020) (quotation omitted) (citing Zucco, 552 F.3d at 990). “The inference of scienter must be

                                  11   cogent and at least as compelling as any opposing inference of nonfraudulent intent.” Tellabs, Inc.

                                  12   v. Makor Issues & Rts., Ltd., 551 U.S. 308, 314 (2007). The required state of mind is one of at
Northern District of California
 United States District Court




                                  13   least “deliberate recklessness.” In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 974 (9th Cir.

                                  14   1999), as amended (Aug. 4, 1999). “[R]ecklessness only satisfies scienter under § 10(b) to the

                                  15   extent that it reflects some degree of intentional or conscious misconduct.” Id. at 977.

                                  16          The Court first turns to the specific alleged misstatements and Plaintiffs’ allegations of

                                  17   scienter as they relate to these statements. The Court then makes a holistic assessment of the

                                  18   factual allegations.

                                  19                    a. Accounting Errors
                                  20          Plaintiffs first contend that Defendants knew, or were deliberately reckless in not knowing,

                                  21   that Bloom was incorrectly accounting for its maintenance service agreements and MSAs. See

                                  22   Dkt. No. 139 at 9–16; see also SAC at ¶¶ 461–71. Plaintiffs suggest that scienter may be inferred

                                  23   from the accounting errors alone because the alleged GAAP violations were so “significant,” and

                                  24   the GAAP provisions themselves so “basic” and straightforward to apply. See Dkt. No. 139 at 9–

                                  25   10. Plaintiffs argue, for example, that “determining the correct accounting for the MSAs was as

                                  26   simple as reviewing the default terms of the MSAs.” See id. at 10 (citing SAC at ¶ 400). As the

                                  27   Court detailed in Section III.A.i above, however, the application of GAAP to Bloom’s

                                  28   maintenance service agreements and MSAs involved a complex inquiry. As the district court in
                                                                                         27
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 28 of 35




                                   1   Oklahoma Firefighters Pension & Ret. Sys. v. IXIA explained:

                                   2
                                                      A plaintiff . . . cannot merely point to a GAAP principle and contend
                                   3                  that a correct interpretation was simple or obvious. At the very least,
                                                      the plaintiff must present facts demonstrating that the defendant was
                                   4                  aware of the relevant GAAP principle and that this defendant knew
                                                      how that [principle] was being interpreted. The plaintiff must then
                                   5                  plead facts explaining how the defendant’s incorrect interpretation
                                                      was so unreasonable or obviously wrong that it should give rise to an
                                   6                  inference of deliberate wrongdoing.
                                   7

                                   8   50 F. Supp. 3d 1328, 1361 (C.D. Cal. 2014) (quotation omitted). Plaintiffs have not alleged any

                                   9   facts that demonstrates that Messrs. Sridhar or Furr knew of the relevant GAAP provisions or

                                  10   knew that Bloom’s interpretation and application of them was unreasonable under the

                                  11   circumstances. The Court simply disagrees that as alleged these errors “were readily apparent”

                                  12   and “indicative of scienter.” See Dkt. No. 139 at 13.
Northern District of California
 United States District Court




                                  13                    b. Fuel Cell Life
                                  14          Next Plaintiffs contend that Defendants knew, or were deliberately reckless in not

                                  15   knowing, that Bloom’s fuel cells could not last five years. See Dkt. No. 139 at 18–19. Plaintiffs

                                  16   state that “Bloom’s fuel cells were a core part of Bloom’s business,” and it would therefore be

                                  17   “absurd” for Defendants not to know that they had never reached an average life of five years. Id.

                                  18   But the challenged statement was simply a projection about future performance based on the

                                  19   company’s technological advances. See SAC at ¶ 184. And Plaintiffs have not alleged sufficient

                                  20   facts about what either Mr. Sridhar or Mr. Furr actually knew about fuel cell life estimates.

                                  21                    c. Efficiency and Emissions
                                  22          Plaintiffs similarly contend that scienter can be assumed based on the centrality to Bloom’s

                                  23   business and marketing strategy that its Energy Servers provide “clean energy.” See Dkt. No. 139

                                  24   at 19–20 (citing SAC at ¶¶ 179, 194, 288, 328). Plaintiffs contend that both Messrs. Sridhar and

                                  25   Furr promoted the Energy Servers as providing “clean energy.” Id. However, the Ninth Circuit

                                  26   has cautioned that it is “not easy” to allege scienter based on a “core operations theory,” i.e., that

                                  27   “corporate officers have knowledge of the critical core operation of their companies.” See Police

                                  28   Ret. Sys. of St. Louis v. Intuitive Surgical, Inc., 759 F.3d, 1051, 1062 (9th Cir. 2014). Here,
                                                                                         28
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 29 of 35




                                   1   Plaintiffs offer no allegations about Messrs. Sridhar and Furr’s “detailed involvement in the

                                   2   minutia of [the] company’s operations, such as data monitoring” or “witness accounts

                                   3   demonstrating that [the] executives had actual involvement in creating false reports.” Id. Nor are

                                   4   there any allegations about Bloom’s technological advancements over time.

                                   5                    d. Construction Delays
                                   6          Plaintiffs contend that Defendants’ statements regarding Bloom’s ongoing construction

                                   7   delays were made with scienter. Plaintiffs again rely on CW1 to establish that Messrs. Sridhar and

                                   8   Furr had knowledge of the existing construction delays. See SAC at ¶ 144. Plaintiffs allege that

                                   9   CW1 “indicated that upper management, all the way up to Sridhar, typically became aware right

                                  10   away” of such construction delays. See id. In their opposition brief, Plaintiffs also contend that

                                  11   “CW1 would have direct knowledge of who was informed of the delays.” Dkt. No. 139 at 18. But

                                  12   the complaint offers no basis for CW1’s purported knowledge about what Messrs. Sridhar and
Northern District of California
 United States District Court




                                  13   Furr did or did not know. CW1 does not explain how he knows “upper management” was

                                  14   informed of the construction delays. In fact, the complaint does not allege that CW1 ever even

                                  15   interacted with Messrs. Sridhar or Furr.

                                  16                    e. Internal Control Weaknesses
                                  17          Plaintiffs also challenge the statements that Messrs. Sridhar and Furr made in their

                                  18   Sarbanes-Oxley certifications that they had evaluated internal controls and concluded that those

                                  19   controls were “effective to provide reasonable assurance” that the company disclosed the required

                                  20   information under the Exchange Act. See SAC at ¶¶ 208, 253, 284. The Ninth Circuit has found

                                  21   that such “[b]oilerplate language in a corporation’s 10–K form, or required certifications under

                                  22   Sarbanes–Oxley section 302(a), . . . add[s] nothing substantial to the scienter calculus.” Zucco,

                                  23   552 F.3d at 1003–04. In their opposition brief, Plaintiffs nevertheless contend that “[i]f the Court

                                  24   finds that Sridhar and Furr acted with scienter” with regard to the alleged accounting errors, “it

                                  25   stands to reason that Sridhar and Furr acted with scienter by indicating there was [sic] no internal

                                  26   weaknesses in internal controls and certifying its financial statements despite Bloom’s improper

                                  27   accounting.” See Dkt. No. 139 at 21. However, the Court has found that Plaintiffs have not

                                  28   sufficiently alleged that the individual Defendants acted with scienter with regard to the
                                                                                        29
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 30 of 35




                                   1   maintenance service contracts or MSAs. See Section III.C.i.a. In short, Plaintiffs have not pled

                                   2   any facts suggesting that Messrs. Sridhar or Furr knew at any point during the purported class

                                   3   period of any defect in internal controls.

                                   4                    f. Defendants’ Motive
                                   5          Plaintiffs also cite several other general allegations about Defendants’ financial incentives

                                   6   to support their claim that they have adequately pled scienter. “Motive and opportunity [are] not

                                   7   enough to create a strong inference of scienter.” Rubke v. Capitol Bancorp Ltd, 551 F.3d 1156,

                                   8   1166 (9th Cir. 2009); see also Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1038 (9th Cir. 2002)

                                   9   (“If scienter could be pleaded merely by alleging that officers and directors possess motive and

                                  10   opportunity to enhance a company’s business prospects, virtually every company in the United

                                  11   States that experiences a downturn in stock price could be forced to defend securities fraud

                                  12   actions.”) (quotation omitted).
Northern District of California
 United States District Court




                                  13          Incentive Compensation. Plaintiffs contend that Messrs. Sridhar and Furr were

                                  14   financially motivated to inflate Bloom’s stock price because they profited from the IPO. See SAC

                                  15   at ¶¶ 442–46. Plaintiffs allege that while Mr. Sridhar received an annual salary of $524,039 in

                                  16   2017 and $607,500 in 2018, id. at ¶ 444, he also received a cash and equity bonus for taking Bloom

                                  17   public totaling $2,000,000 in cash and $44,259,315 in vested RSUs, id. at ¶ 443. Plaintiffs further

                                  18   allege that Mr. Furr’s salary for 2018 was $407,154, but that because of the IPO, Mr. Furr was granted

                                  19   $11,276,283 in vested RSUs. Id. at ¶ 445. Plaintiffs urge that these bonuses were unreasonable for “a

                                  20   company that was pre-profit.” See id. at ¶ 446. Yet Plaintiffs have not alleged that Messrs. Sridhar

                                  21   and Furr were responsible for setting the amount of their bonuses and compensation.

                                  22          As Plaintiffs point out, the Ninth Circuit has stated that “[a] strong correlation between

                                  23   financial results and stock options or cash bonuses for individual defendants may occasionally be

                                  24   compelling enough to support an inference of scienter.” Zucco, 552 F.3d at 1004. However, the

                                  25   Ninth Circuit has also cautioned that “it is common for executive compensation, including stock

                                  26   options and bonuses, to be based partly on the executive’s success in achieving key corporate

                                  27   goals.” In re Rigel Pharms., Inc. Sec. Litig., 697 F.3d 869, 884 (9th Cir. 2012). The Supreme

                                  28   Court has therefore cautioned against “conclud[ing] that there is fraudulent intent merely because
                                                                                         30
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 31 of 35




                                   1   a defendant’s compensation was based in part on [] successes” in achieving corporate goals.

                                   2   Rigel, 697 F.3d at 884. Specifically with respect to IPOs, the Ninth Circuit has concluded that

                                   3   “allegations regarding Defendants-Appellees’ motive to boost the company’s profitability and

                                   4   stock prices in the months surrounding the company’s IPO are not ‘specific’ or ‘particularized,’ as

                                   5   our precedents require.” Webb v. Solarcity Corp., 884 F.3d 844, 856 (9th Cir. 2018).

                                   6          Here, Plaintiffs offer a conclusory statement that the bonus structure was unreasonable.

                                   7   SAC at ¶ 446. But Plaintiffs do not provide any detailed allegations about how the bonus structure

                                   8   worked or what the milestones were that the individual Defendants had to achieve in order to

                                   9   receive their bonuses. See id. at ¶¶ 441–46. Plaintiffs suggest, for example, that the inflated share

                                  10   price was critical to ensure Bloom could satisfy its debt obligations. See id. at ¶ 453. But

                                  11   Plaintiffs do not allege that Mr. Sridhar’s or Mr. Furr’s compensation was tied to the share price in

                                  12   the IPO. The Court finds that Plaintiffs have not pled a sufficiently strong correlation between
Northern District of California
 United States District Court




                                  13   Bloom’s financial performance and Messrs. Sridhar and Furr’s stock and cash bonuses to support

                                  14   a finding of scienter in light of the work involved in helping the company through its IPO.

                                  15          Stock Sales. Plaintiffs further contend that Messrs. Sridhar and Furr’s stock sales support

                                  16   a finding of scienter. See SAC at ¶¶ 455–60. Plaintiffs allege that after PwC identified problems

                                  17   with the accounting of the MSAs, but before the company published its restatement in March

                                  18   2020, Messrs. Sridhar and Furr sold a substantial amount of stock. See id. Plaintiffs allege that

                                  19   prior to these sales, Mr. Sridhar had never sold stock in the open market and Mr. Furr had only

                                  20   done so once. See id. at ¶ 459. Plaintiffs allege that by selling when they did, Messrs. Sridhar and

                                  21   Furr prevented losses of $1,927,811, and $317,063, respectively. See id. at ¶ 455.

                                  22          The Ninth Circuit has stated that “[u]nusual’ or ‘suspicious’ stock sales by corporate

                                  23   insiders may constitute circumstantial evidence of scienter . . . .” In re Quality Sys., Inc. Sec.

                                  24   Litig., 865 F.3d 1130, 1146 (9th Cir. 2017) (quotation omitted). Courts may consider factors such

                                  25   as “(1) the amount and percentage of shares sold; (2) timing of the sales; and (3) consistency with

                                  26   prior trading history.” Id. (quotation omitted). Although Plaintiffs have alleged that the sales are

                                  27   not consistent with the individual Defendants’ trading history, Bloom’s IPO was not until July 25,

                                  28   2018. Defendants therefore only had, at most, less than a year and a half in which to sell stock.
                                                                                         31
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 32 of 35




                                   1   Plaintiffs also do not discuss whether there was any waiting period after the IPO during which

                                   2   Defendants were prevented from selling their stock. Plaintiffs have also not provided any

                                   3   information about what portion of their total holdings Messrs. Sridhar and Furr sold in December

                                   4   2019 and January 2020. Without more information, the Court does not find that these stocks sales

                                   5   are sufficient, on their own, to establish scienter.

                                   6           Corporate Scienter. Plaintiffs contend that Bloom had its own financial incentives to

                                   7   inflate the share price in order to cover its debts. See SAC at ¶¶ 451–53. The Ninth Circuit has

                                   8   held that the theory of corporate or collective scienter is available, at most, in narrow

                                   9   circumstances in which the challenged statements are “so dramatically false . . . [as] to create an

                                  10   inference of scienter that at least some corporate officials knew of falsity upon publication.” In re

                                  11   NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1063 (9th Cir. 2014) (rejecting corporate scienter

                                  12   allegations) (quotation omitted). Plaintiffs do not meet this standard. And in the complaint,
Northern District of California
 United States District Court




                                  13   Plaintiffs state only that Bloom is liable for the actions of Messrs. Sridhar, Furr and all other

                                  14   employees under principles of respondeat superior. See SAC at ¶¶ 478–79. Because the Court

                                  15   finds that Plaintiffs have not alleged scienter as to Messrs. Sridhar and Furr, Plaintiffs have also

                                  16   not established scienter as to Bloom.

                                  17                                               *          *   *

                                  18           Even when Plaintiffs’ allegations are considered in their entirety, the Court finds that the

                                  19   inference of scienter is weak, and certainly not as strong as the inference that Defendants had a

                                  20   non-fraudulent intent. See Tellabs, 551 U.S. at 310 (“To determine whether the plaintiff has

                                  21   alleged facts giving rise to the requisite ‘strong inference,’ a court must consider plausible,

                                  22   nonculpable explanations for the defendant’s conduct, as well as inferences favoring the

                                  23   plaintiff.”). The Court therefore GRANTS the motion to dismiss on this basis.

                                  24              ii.    Loss Causation
                                  25           Lastly, Defendants contend that Plaintiffs have failed to allege loss causation regarding

                                  26   fuel cell life. “[T]o satisfy the loss causation requirement, the plaintiff must show that the

                                  27   revelation of that misrepresentation or omission was a substantial factor in causing a decline in the

                                  28   security’s price, thus creating an actual economic loss for the plaintiff.” Nuveen Mun. High
                                                                                          32
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 33 of 35




                                   1   Income Opportunity Fund v. City of Alameda, Cal., 730 F.3d 1111, 1119 (9th Cir. 2013) (quoting

                                   2   McCabe v. Ernst & Young, LLP, 494 F.3d 418, 425–26 (3d Cir. 2007)). This “burden of pleading

                                   3   loss causation is typically satisfied by allegations that the defendant revealed the truth through

                                   4   ‘corrective disclosures’ which ‘caused the company’s stock price to drop and investors to lose

                                   5   money.’” Lloyd v. CVB Fin. Corp., 811 F.3d 1200, 1209 (9th Cir. 2016) (quoting Halliburton Co.

                                   6   v. Erica P. John Fund, Inc., 573 U.S. 258, 264 (2014)). However, this is not the only way to meet

                                   7   the pleading burden. Instead, “loss causation is simply a variant of proximate cause,” and “the

                                   8   ultimate issue is whether the defendant’s misstatement, as opposed to some other fact, foreseeably

                                   9   caused the plaintiff’s loss.” Id. at 1210.

                                  10          Because the Court has found that Plaintiffs have not alleged scienter, the Court need not

                                  11   reach this issue. Nevertheless, to streamline the amendment process and any subsequent motion to

                                  12   dismiss, the Court addresses the parties’ arguments. Defendants contend that the Hindenburg
Northern District of California
 United States District Court




                                  13   report did not constitute a corrective disclosure because it is based on publicly available

                                  14   information. See Dkt. No. 127 at 22–23. Plaintiffs allege that the falsity of Bloom’s statements

                                  15   about fuel cell life was revealed to investors on September 17, 2019, when the Hindenburg authors

                                  16   issued their report concluding that Bloom’s fuel cell life was less than three years. See SAC at

                                  17   ¶ 486. Defendants point out, however, that the Hindenburg report explicitly states that “all

                                  18   information [in the report] has been obtained from public sources.” See Hindenburg Report at 59.

                                  19   Specifically, much of the Hindenburg report appears based on public utility data from California

                                  20   and New York. This Court has previously explained that “‘the mere repackaging of already-

                                  21   public information by an analyst or short-seller is simply insufficient to constitute a corrective

                                  22   disclosure.’” In re Nektar Therapeutics, No. 18-CV-06607-HSG, 2020 WL 3962004, at *18

                                  23   (N.D. Cal. July 13, 2020) (quoting Meyer v. Greene, 710 F.3d 1189, 1199 (11th Cir. 2013)). “‘If

                                  24   every analyst or short-seller's opinion based on already-public information could form the basis for

                                  25   a corrective disclosure, then every investor who suffers a loss in the financial markets could sue

                                  26   under § 10(b) using an analyst’ s negative analysis of public filings as a corrective disclosure.

                                  27   That cannot be—nor is it—the law.’” Id. (quoting Meyer, 710 F.3d at 1199). The Court therefore

                                  28   GRANTS the motion on this basis.
                                                                                         33
                                           Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 34 of 35




                                   1           Nevertheless, the Court notes that that the Ninth Circuit has at least considered the

                                   2   possibility that some materials may still constitute corrective disclosures if they “provid[e]

                                   3   additional or more authoritative [] information that deflated the stock price.” See In re Apollo

                                   4   Grp., Inc. Sec. Litig., No. 08-16971, 2010 WL 5927988, at *1 (9th Cir. June 23, 2010).7 Still, at

                                   5   least as currently alleged, Plaintiffs do not explain why the Hindenburg authors had the necessary

                                   6   background or expertise to interpret or aggregate the public utility data in a manner that added

                                   7   something to the factual record such that their report could still be considered a corrective

                                   8   disclosure under Apollo.

                                   9   IV.     CONCLUSION
                                  10           Accordingly, the Court GRANTS IN PART and DENIES IN PART the motions to

                                  11   dismiss.

                                  12              •   The Court GRANTS IN PART the Section 11 Defendants’ motion to dismiss, Dkt.
Northern District of California
 United States District Court




                                  13                  No. 130, WITH LEAVE TO AMEND as to Plaintiffs’ claims based on

                                  14                  accounting errors, fuel cell life, emissions, and internal controls. The Court

                                  15                  otherwise DENIES the motion.

                                  16              •   The Court GRANTS PwC’s motion to dismiss, Dkt. No. 127, WITH LEAVE TO

                                  17                  AMEND.

                                  18              •   The Court GRANTS the Section 10(b) Defendants’ motion to dismiss, Dkt. No.

                                  19                  129, WITH LEAVE TO AMEND.

                                  20

                                  21   Any amended complaint must be filed within twenty-one (21) days of the date of this order.

                                  22           When preparing an amended complaint, Plaintiffs are further ordered to prepare a

                                  23   statement-by-statement chart of the information required by 15 U.S.C. § 78u-4(b)(1) and (2) that

                                  24   specifically identifies: (A) each statement or action alleged to have been false or misleading, (B)

                                  25   the reasons the statement or action was false, misleading, or deceptive when made, and (C) if an

                                  26   allegation regarding the statement or omission is made on information and belief, all facts on

                                  27
                                       7
                                  28     As an unpublished Ninth Circuit decision, In re Apollo is not precedent, but may be considered
                                       for its persuasive value. See Fed. R. App. P. 32.1; CTA9 Rule 36-3.
                                                                                        34
                                        Case 4:19-cv-02935-HSG Document 157 Filed 09/29/21 Page 35 of 35




                                   1   which the belief is formed. The chart should clearly identify which statements or omissions are

                                   2   attributable to which defendants, and include a detailed statement of the facts giving rise to a

                                   3   strong inference that each defendant acted with the required state of mind. Plaintiffs should also

                                   4   summarize their allegations regarding what each defendant knew with regard to the statement or

                                   5   omission, and when they knew it. Such a chart should be included within any amended complaint

                                   6   or attached to any amended complaint. For guidance on the format for such a chart, the Court

                                   7   directs Plaintiffs to review In re NVIDIA Corp. Sec. Litig., 18-cv-07669-HSG, Dkt. No. 149-2.

                                   8           The Court further SETS a telephonic case management conference on October 26, 2021, at

                                   9   2:00 p.m. The parties should be prepared to discuss how to move this case forward efficiently.

                                  10   All counsel shall use the following dial-in information to access the call:

                                  11           Dial-In: 888-808-6929;

                                  12           Passcode: 6064255
Northern District of California
 United States District Court




                                  13   For call clarity, parties shall NOT use speaker phone or earpieces for these calls, and where at all

                                  14   possible, parties shall use landlines. The joint case management statement is due October 19,

                                  15   2021.

                                  16           IT IS SO ORDERED.

                                  17   Dated: 9/29/2021

                                  18                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  19                                                    United States District Judge
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